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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JOHN C. KITCHIN, JR.,                            )
NORTH WEST AUTO BODY COMPANY,                    )
and MARY MENKE, on behalf of                     )
themselves and all others similarly              )
situated,                                        )
                                                 )
              Plaintiffs,                        )              No. 4:18 CV 672 CDP
                                                 )
       v.                                        )
                                                 )
BRIDGETON LANDFILL, LLC, et al.,                 )
                                                 )
              Defendants.                        )

                                           ORDER

       IT IS HEREBY ORDERED that defendant Bridgeton Landfill, LLC’s Unopposed

Motion for Leave to File Third-Party Complaint [71] is GRANTED. The Clerk of Court

shall detach and docket forthwith Bridgeton Landfill, LLC’s Third-Party Complaint (ECF

71-1) that was submitted to the Court with its motion.

       IT IS FURTHER ORDERED that the Order Setting Rule 16 Conference (ECF 68)

is VACATED, and counsel are excused from the obligations set out in that Order (including

their obligation to file a Joint Scheduling Plan) pending service upon third-party defendant

Cotter Corporation, N.S.L., and its entry of appearance in this action.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE
Dated this 4th day of October, 2021.
